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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                           ALEXANDRIA DIVISION


V M L ET AL                                     CASE NO. 1:25-CV-00550 SEC P

VERSUS                                          JUDGE TERRY A. DOUGHTY

MELLISSA B HARPER ET AL                         MAG. JUDGE PEREZ-MONTES


                                       ORDER
      On Friday, April 25, 2025, this Court issued an Order (ECF No. 8) setting a

hearing on a Habeas Petition (ECF No. 1) and an Emergency Motion for Temporary

Restraining Order (ECF No. 2) filed in this case. For context and to better aid the

parties at the hearing, the Court clarifies its concerns here.

      VML is a two-year-old United States citizen. ECF No. 1 at 2. Her mother is

an illegal immigrant from Honduras. Id. at 5. Her father is implied to be an illegal

immigrant as well. See ECF No. 5 at 3. Pursuant to ICE’s Intensive Supervision

Appearance Program, VML, alongside her mother and sister, went to the New

Orleans Field Office of ICE on April 22, 2025. ECF No. 1 at 2. They were detained.

Id. The father allegedly tried to get VML back but was fearful he’d be deported too.

ECF No. 5 at 3. So, he purportedly assigned his custodial rights to his sister-in-law,

an American citizen. ECF No 1 at 6. Accounts vary, but VML remained in ICE

custody despite the father and sister-in-law’s efforts.     Relevant here, Petitioner

alleges that the mother and father agreed on the phone in the presence of an ICE

agent to have VML remain in the United States, and the ICE agent allegedly agreed

that VML would not be deported. See ECF No. 5. at 2–3. It is ICE’s position that
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VML’s mother instead requested VML go with her to Honduras, and ICE provided a

note purporting as much. ECF No. 5-1 at 5, 10. That is the factual dispute the Court

sought to clarify prior to VML’s removal. The procedural history below illuminates

why pre-removal clarification was impossible.

      This case was filed at 7:59 p.m. CST on April 24, 2025. See NEF RECEIPT, ECF

No. 1. The plane carrying VML from the Alexandria Division took off toward Texas

at 6:23 a.m. CST. See ECF No. 5 at 1. The case was assigned to the undersigned at

8:14 a.m. CST on April 25, 2025, and the Court immediately began considering the

Petition. A minute later, at 8:15 a.m., the plane carrying VML from Alexandria

reached El Paso, preparing for its final leg to Honduras. For even greater context,

the Court was simultaneously conducting criminal jury selection in an unrelated

matter beginning at 9:00 a.m. CST. The Government’s position on VML was first

gleaned from an exhibit (ECF No. 5-1) to Petitioner’s Reply brief (ECF No. 5), filed at

9:41 a.m. CST. See NEF RECEIPT, ECF No. 5. Now aware of the alleged note

controverting the Petition’s allegations, the Court sought to call VML’s mother to

have her attest that she consented to her child being removed with her. See ECF No.

8. That didn’t happen. See id. Now we are here.

      As mentioned above, the Court still doesn’t know whether the Petitioner’s or

the Government’s version of events should be credited. What the Court does know is

that it has a pending petition for habeas corpus and emergency motion for temporary

restraining order, which could have merit depending on whether the parents actually
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resolved for VML not to be removed, and she was anyway. See ECF Nos. 1 and 2.

That is the purpose of the hearing. Accordingly,

      IT IS ORDERED that the parties be prepared to discuss the above issues at

the May 16, 2025, hearing. See ECF No. 8.

      MONROE, LOUISIANA, this 29th day of April, 2025.




                                                        Terry A. Doughty
                                                   United States District Judge
